                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


 PSC CUSTOM, LLC, d/b/a POLAR                      Case No. CV 20-132-BLG-SPW
 SERVICE CENTER,

                                  Plaintiff,
                                                    ORDER VACATING AND
        -vs-                                      RESETTING PRELIMINARY
                                                   PRETRIAL CONFERENCE
 HANOVER AMERICAN INSURANCE
 COMPANY, SECTOR CORPORATION,
 and ST. JOHNS CORPORATION,

                                 Defendants.


      Upon Plaintiff’s Unopposed Motion to Vacate and Reset the Preliminary

Pretrial Conference (Doc. 10), and for good cause being shown,

      IT IS HEREBY ORDERED that the Preliminary Pretrial Conference

currently set for November 9, 2020, at 1:30 p.m., is VACATED and RESET for

Thursday, November 19, 2020, at 2:30 p.m. All other deadlines outlined in the

Court’s Order of September 11, 2020 (Doc. 9), shall remain in effect.

      DATED this 15th day of September, 2020.




                                               SUSAN P. WATTERS
                                               United States District Judge
